     Case: 1:21-cv-01148 Document #: 94 Filed: 09/05/23 Page 1 of 1 PageID #:231

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Reyna Arroyo
                                     Plaintiff,
v.                                                      Case No.: 1:21−cv−01148
                                                        Honorable Steven C. Seeger
City of Chicago Police Dept.
                                     Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, September 5, 2023:


        MINUTE entry before the Honorable Steven C. Seeger: The joint motion for an
extension of time (Dckt. No. [93]) is hereby granted. The Court extends discovery until
September 29, 2023 given that a deponent is on medical leave. Discovery is extended for
that limited purpose. The City's summary judgment letter is due by October 11, 2023, and
the response is due by October 25, 2023. The parties must file an update by November 6,
2023, including whether they seek a settlement conference, and must attach the summary
judgment letters. Summary judgment motions are due by November 13 2023. Mailed
notice. (jjr, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
